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TIPS FOR A BETTER-QUALITY EXPERIENCE:

1. You may connect to the videoconference by cell phone, tablet, laptop, or desktop computer.
We have found that newer iPhones provide the best visual and audio feed—better than most
desktop computers. If you are on a personal computer, headphones or earbuds are
required for those who need to speak during the hearing. External speakers tend to result in
distorted sound when that person’s microphone is unmuted.

2. Please observe proper videoconference etiquette—

a. Identify yourself each time you speak and speak slowly and clearly. Remember we are
trying to maintain a good record in addition to allowing the court and everyone to hear you
and see you while you are speaking. Also, WebEx has active speaker identification that will
determine who is speaking and display your screen to everyone after it picks up your voice,
which could be a second or two after you start speaking.

b. Mute yourself when not speaking. Be aware that court staff can also mute participants if
needed, so make sure you are unmuted when you do need to speak.

c. All witness and attorneys who will be conducting examination must use a separate camera
and microphone so that they may be seen and heard by the Court and other conference
attendees.

3. When making an appearance from a vehicle, please park in a safe location with windows

rolled up (to minimize background distraction and noise) and use a handset that is ear-
to-phone (not the vehicle’s hands-free speaker-phone option).

PARTICIPATING IN BANKRUPTCY COURT HEARINGS BY VIDEOCONFERENCE

During the COVID-19 Pandemic, the Northern District of Texas Bankruptcy Court is using
videoconferencing more frequently for hearings. The determination to use videoconferencing
for hearings will be made on a case-by-case basis by the presiding judge, based upon the
needs of the case.

HOW? Currently, we are using the Cisco WebEx application for videoconferencing that can
easily be accessed on a phone, tablet, laptop or PC. There is no fee/charge of any kind for the
participants, although you will have to download WebEx to your computer or the WebEx
App to your phone or tablet. The courtroom deputy will give you instructions on how to
connect (for example, by giving you the link and Conference ID to use). You may also be
asked to include this information in your notice of hearing.

WHAT IF I WOULD RATHER JUST LISTEN IN AND NOT HAVE VIDEO? You will
still be able to participate through the WebEx telephone dial-in only option on a cell phone or
land line in those hearings where the court decides to make videoconferencing available. You
also have the ability to connect through the WebEx application and select “audio only” if you
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just want to listen to the hearing and not participate by video, or you can “mute” your video
presence at any time during the hearing.

EXHIBITS AND SUCH: Exhibits should be filed ahead of time by the date that they would
normally be exchanged pursuant to our local rules. Demonstrative aids and Power Points
should also be filed prior to the hearing, if possible. If not, you will have the ability to share
your screen, or a particular document, with everyone in the WebEx meeting. If these
documents are admitted as exhibits, they would then have to be filed after the hearing.

During the videoconference hearing, lawyers can refer to (and offer) their exhibits by
referencing where they appear on the docket for the court and all to access. Later, after the
hearing, the court will create a Minute Entry reflecting which exhibits were admitted. For
witnesses, you should consider emailing exhibits to them ahead of time since they may not

have access to PACER—although, again, a document share-your-screen feature is available
on WebEx.
